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FILED IN OPEN COURT

JUN 24 2020
GAB IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ALABAMA = CHARLES R. eee
SOUTHERN DIVISION
UNITED STATES OF AMERICA CRIM. NOw22)-00699-TB
* USAO NO. 18R00387
Vv. *
* VIOLATIONS: 21 USC § 846

VON CLAY BENNETT, JR., * 21 USC § 841(a)(1)

aka CLAY, * 18 USC § 924(c)(1)(A)

aka CJ, * 18 USC § 922(j)
MONTESE HARRIS, * 18 USC § 922(g)(1)

aka CAKE, *
CANDICE LANETTE COX, *

aka CANDY, *
BOBBY JOSEPH DWAYNE PALMER, *

aka BOBBY WAYNE PALMER, *
ANTHONY JOSEPH FLOYD, *

aka AJ, and 7
MARK WAYNE COOPER, *

aka COOP

INDICTMENT
THE GRAND JURY CHARGES:
Count One
Conspiracy

Title 21, United States Code, Section 846

From in or about early 2017, continuing through in or about late 2019, in the Southern
District of Alabama, Southern Division, the defendants,

VON CLAY BENNETT, JR.,
aka CLAY,
aka CJ,
MONTESE HARRIS,
aka CAKE,
CANDICE LANETTE COX,
aka CANDY,
BOBBY JOSEPH DWAYNE PALMER,
aka BOBBY WAYNE PALMER,
ANTHONY JOSEPH FLOYD,
aka AJ, and
MARK WAYNE COOPER,
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aka COOP,
did knowingly and intentionally combine, conspire, and agree together and with other persons
known and unknown to the Grand Jury, to possess with intent to distribute more than 50 grams
of methamphetamine (actual), a Schedule II controlled substance, contrary to Title 21, United
States Code, Section 841(a)(1).

In violation of Title 21, United States Code, Section 846 and Title 18, United States
Code, Section 2.

The amount of methamphetamine (actual) reasonably attributable to each defendant in
the conspiracy exceeds 50 grams; therefore the defendants are subject to the penalty provisions
of Title 21, United States Code, Section 841(b)(1)(A).

Count Two
Possession with Intent to Distribute
Title 21, United States Code, Section 841(a)(1)
On or about March 28, 2018, in the Southern District of Alabama, Southern Division, the

defendant,

CANDICE LANETTE COX,
aka CANDY,

did knowingly and willfully possess with intent to distribute approximately 6.1 grams of
methamphetamine (actual), a Schedule II controlled substance.

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States
Code, Section 2.

The amount of methamphetamine (actual) involved in the offense for which the
defendant is reasonably accountable exceeds 5 grams; therefore, the defendant is subject to the

penalty provisions of Title 21, United States Code, Section 841(b)(1)(B).
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Count Three
Possession of Stolen Firearm
Title 18, United States Code, Section 922(j)
On or about May 18, 2018, in the Southern District of Alabama, Southern Division, the
defendant,
VON CLAY BENNETT, JR.,
aka CLAY,
aka CJ,
did knowingly receive, possess, and conceal a stolen firearm, namely, a Ruger, model P89, .9mm
pistol, serial number 30490832, which had been shipped and transported in interstate commerce,
knowing and having reasonable cause to believe the said firearm was stolen.
In violation of Title 18, United States Code, Section 922()).
Counts Four through Eighteen
Possession with Intent to Distribute
Title 21, United States Code, Section 841(a)(1)
On or about the date listed below for each count, in the Southern District of Alabama,
Southern Division, the defendant identified in each count did knowingly and intentionally

possess with intent to distribute the amount of methamphetamine (actual), a Schedule II

controlled substance, described in each count:

 

 

 

 

 

 

 

 

 

COUNT | DATE DEFENDANT CONTROLLED SUBSTANCE

4 6/14/18 BOBBY JOSEPH DWAYNE Approximately 10.61 grams of
PALMER, aka BOBBY WAYNE methamphetamine (actual)
PALMER

5 6/14/18 | VON CLAY BENNETT, JR., Approximately 2.62 grams of
aka CLAY, aka CJ, and methamphetamine (actual)
ANTHONY JOSEPH FLOYD,
aka AJ

6 6/18/18 | CANDICE LANETTE COX, Approximately 12.6 grams of
aka CANDY methamphetamine (actual)

7 6/19/18 CANDICE LANETTE COX, Approximately 9.56 grams of
aka CANDY methamphetamine (actual)

 

 

 
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8 6/20/18 | BOBBY JOSEPH DWAYNE Approximately 3 grams of
PALMER, aka BOBBY WAYNE methamphetamine (actual)
PALMER

9 6/22/18 | ANTHONY J. FLOYD, Approximately 14 grams of
aka AJ, and methamphetamine (actual)
CANDICE LANETTE COX,
aka CANDY, and
VON CLAY BENNETT, JR.,
aka CLAY, aka CJ

10 6/25/18 | MONTESE HARRIS, aka CAKE Approximately 19.96 grams of

methamphetamine (actual)

11 6/28/18 | CANDICE LANETTE COX, Approximately 19.96 grams of
aka CANDY methamphetamine (actual)

12 6/29/18 | VON CLAY BENNETT, JR., Approximately 19.7 grams of
aka CLAY, aka CJ methamphetamine (actual)

13 7/5/18 | CANDICE LANETTE COX, Approximately 13.74 grams of
aka CANDY methamphetamine (actual)

14 7/518 | VON CLAY BENNETT, JR., Approximately 19.5 grams of
aka CLAY, aka CJ methamphetamine (actual)

15 7/10/18 VON TAY BENNE DIE Approximately 3.95 grams of
aka CLAY, aka CJ :

methamphetamine (actual)

16 7/13/18 | CANDICE LANETTE COX, Approximately 22.09 grams of
aka CANDY methamphetamine (actual)

17 7/16/18 | MONTESE HARRIS, Approximately 43.5 grams of
aka CAKE, and methamphetamine (actual)
VON CLAY BENNETT, JR.,
aka CLAY, aka CJ

18 7/18/18 | VON CLAY BENNETT, JR., Approximately 21.48 grams of
aka CLAY, aka CJ methamphetamine (actual)

 

 

 

 

States Code, Section 2.

In violation of Title 21, United States Code, Sections 841(a)(1), and Title 18, United

 
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In COUNTS FIVE, SEVEN, EIGHT, TEN through FOURTEEN, and SIXTEEN
through EIGHTEEN, the amount of methamphetamine (actual) reasonably attributable to each
defendant named in those counts exceeds 5 grams; therefore, the defendants named in those
counts are subject to the penalty provision of Title 21, United States Code, Section 841(b)(1)(B).

Count Nineteen
Prohibited Person in Possession of Firearm
Title 18, United States Cde, Section 922(g)
On or about July 18, 2018, in the Southern District of Alabama, Southern Division, the

defendant,

BOBBY JOSEPH DWAYNE PALMER,
aka BOBBY WAYNE PALMER,

knowing he had previously been convicted of a crime punishable by imprisonment for a term
exceeding one (1) year, to-wit: Unlawful Possession of a Controlled Substance, on June 19,
2015, in the Circuit Court of Baldwin County, Alabama, case number CC2013-567; Unlawful
Possession of a Controlled Substance, on March 22, 2018, in the Circuit Court of Baldwin
County, Alabama, case number CC2018-000642; did knowingly possess, in and affecting
interstate commerce, a firearm, namely, a Jennings, Model J22, .22 caliber pistol, serial number
706680.

In violation of Title 18, United States Code, Section 922(g)(1).

Count Twenty

Possession with Intent to Distribute
Title 21, United States Code, Section 841(a)(1)

On or about July 27, 2018, in the Southern District of Alabama, Southern Division, the
defendant,

CANDICE LANETTE COX,
aka CANDY,
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did knowingly and willfully possess with intent to distribute approximately 19.1 grams of
methamphetamine (actual), a Schedule IJ controlled substance.

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States
Code, Section 2.

The amount of methamphetamine (actual) involved in the offense for which the
defendant is reasonably accountable exceeds 5 grams; therefore, the defendant is subject to the

penalty provisions of Title 21, United States Code, Section 841(b)(1)(B).

Count Twenty-One

Possession with Intent to Distribute
Title 21, United States Code, Section 841(a)(1)

On or about August 8, 2018, in the Southern District of Alabama, Southern Division, the
defendant,
CANDICE LANETTE COX,
aka CANDY, and
VON CLAY BENNETT, JR.,
aka CLAY,
aka CJ,
did knowingly and willfully possess with intent to distribute approximately 118.2 grams of
methamphetamine (actual), a Schedule II controlled substance.
In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States
Code, Section 2.
The amount of methamphetamine involved in the offense for which the defendant is

reasonably accountable exceeds 5 grams; therefore, the defendant is subject to the penalty

provisions of Title 21, United States Code, Section 841(b)(1)(B).

 
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Count Twenty-Two

Possession with Intent to Distribute
Ttile 21, United States Code, Section 841(a)(1)

On or about August 16, 2018, in the Southern District of Alabama, Southern Division, the

defendant,
VON CLAY BENNETT, JR.,
aka CLAY,
aka CJ,

did knowingly and willfully possess with intent to distribute approximately 40.9 grams of
methamphetamine (actual), a Schedule II controlled substance.

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States
Code, Section 2.

The amount of methamphetamine (actual) involved in the offense for which the

defendant is reasonably accountable exceeds 5 grams; therefore, the defendant is subject to the

penalty provisions of Title 21, United States Code, Section 841(b)(1)(B).

Count Twenty-Three

Possess, Use, and Carry Firearm During Drug Offense
Title 18, United States Code, Section 924(c)

On or about August 16, 2018, in the Southern District of Alabama, Southern Division, the
defendant,
VON CLAY BENNETT, JR.,
aka CLAY,
aka CJ,
during and in relation to a drug trafficking crime for which the defendant may be prosecuted in a
court of the United States, namely, conspiracy to possess with intent to distribute

methamphetamine, a Schedule II controlled substance, a violation of Title 21, United States

Code, Section 846, as alleged in Count 1 of this Indictment, did knowingly use and carry
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firearms, namely, a Smith & Wesson .357 caliber revolver, serial number CMV8697, a “Hell
Pup” AK 47 style pistol, serial number PAC1119274, and a Glock, Model 22C, .40 caliber
pistol, serial number NWS906, and in furtherance of the drug trafficking crime, conspiracy to
possess with intent to distribute methamphetamine, a Schedule II controlled substance, a
violation of Title 21, United States Code, Section 846, as alleged in Count 1 of this Indictment,
did knowingly possess firearms, namely, a Smith & Wesson .357 caliber revolver, serial number
CMV8697, a “Hell Pup” AK 47 style pistol, serial number PAC1119274, and a Glock, Model
22C, .40 caliber pistol, serial number NWS906.

In violation of Title 18, United States Code, Section 924(c)(1)(A) and 18, United States

Code, Section 2.

Count Twenty-Four

Possession with Intent to Distribute
Title 21, United States Code, Section 841(a)(1)

On or about September 12, 2018 , in the Southern District of Alabama, Southern
Division, the defendant,

MARK WAYNE COOPER,
aka COOP,

did knowingly and willfully possess with intent to distribute approximately 10.2 grams of
methamphetamine (actual), a Schedule II controlled substance.

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States
Code, Section 2.

The amount of methamphetamine involved in the offense for which the defendant is

reasonably accountable exceeds 5 grams; therefore, the defendant is subject to the penalty

provisions of Title 21, United States Code, Section 841(b)(1)(B).
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Count Twenty-Five
Possession with Intent to Distribute
Title 21, United States Code, Section 841(a)(1)
On or about November 4, 2018, in the Southern District of Alabama, Southern Division,

the defendant,

MARK WAYNE COOPER,
aka COOP,

did knowingly and willfully possess with intent to distribute approximately 17.4 grams of
methamphetamine (actual), a Schedule II controlled substance.

In violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States
Code, Section 2.

The amount of methamphetamine involved in the offense for which the defendant is
reasonably accountable exceeds 5 grams; therefore, the defendant is subject to the penalty
provisions of Title 21, United States Code, Section 841(b)(1)(B).

FORFEITURE NOTICE

In committing one or any of the felony offenses alleged in Counts One, Two, Five
through Eighteen, and Twenty through Twenty-Two, and Twenty-Four through Twenty-Five of
this Indictment, which are each punishable by imprisonment for more than one year, the
defendants,

VON CLAY BENNETT, JR.,
aka CLAY,
aka CJ,
MONTESE HARRIS,
aka CAKE,
CANDICE LANETTE COX,
aka CANDY,
BOBBY JOSEPH DWAYNE PALMER,
aka BOBBY WAYNE PALMER,

ANTHONY JOSEPH FLOYD,
aka AJ, and
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MARK WAYNE COOPER,
aka COOP,

shall forfeit to the United States of America any property constituting, or derived from, any
proceeds obtained, directly or indirectly, as the result of such offense[s] and any property,
used or intended to be used in any manner or part to commit or to facilitate the commission of
such violation or violations. The United States is entitled to forfeiture of any such property
constituting or derived from any proceeds each defendant obtained, directly or indirectly as the
result of such violation; and any such property of any such defendant used, or intended to be
used, in any manner or part, to commit or to facilitate the commission of such violation,
including but not limited to the following property:

1. One Ruger, model P89, .9mm pistol, serial number 30490832, with magazines and
ammunition;

2. One Jennings, Model J22, .22 caliber pistol, serial number 706680, with magazines
and ammunition;

3. One Smith & Wesson .357 caliber revolver, serial number CMV8697, with
ammunition;

4. One “Hell Pup” AK 47 style pistol, serial number PAC1119274, with magazines and
ammunition: and

5. One Glock, Model 22C, .40 caliber pistol, serial number NWS906, with magazines
and ammunition.

If any of the property which is subject to forfeiture, as a result of any act of omission of
any defendant, cannot be located upon the exercise of due diligence; has been transferred to, sold
to, or deposited with a third person; has been placed beyond the jurisdiction of the Court; has

been substantially diminished in value; or has been commingled with other property which
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cannot be subdivided without difficulty: by virtue of the commission of Counts One, Two, Five
through Eighteen, and Twenty through Twenty-Two and Twenty-Four through Twenty-Five
hereinabove by the defendants, any and all interest each defendant has in the above-described
property and any substitute property is vested in the United States and is hereby forfeited to the
United States.

In accordance with Title 21, United States Code, Section 853.

FORFEITURE NOTICE

Upon conviction of the offenses alleged in Counts Three, Four, Nineteen, and Twenty-
Three of this Indictment, violations of Title 18, United States Code, Sections 922(¢)(1), 922(n),
922(j) and 924(c)(1)(A), the defendants,

VON CLAY BENNETT, JR.,
aka CLAY,
aka CJ, and
BOBBY JOSEPH DWAYNE PALMER,
aka BOBBY WAYNE PALMER,

shall forfeit to the United States pursuant to Title 18, United States Code, Section 924(d) and
Title 28, United States Code, Section 2461(c), any firearms and ammunition involved or used in
the commission of the offenses, including, but not limited to:

1. One Ruger, model P89, .9mm pistol, serial number 30490832, with magazines and
ammunition;

2. One Jennings, Model J22, .22 caliber pistol, serial number 706680, with magazines
and ammunition;

3. One Smith & Wesson .357 caliber revolver, serial number CMV8697, with
ammunition;

4. One “Hell Pup” AK 47 style pistol, serial number PAC1119274, with magazines and
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ammunition; and

5. One Glock, Model 22C, .40 caliber pistol, serial number NWS906, with magazines
and ammunition.

In accordance with Title 26, United States Code, Section 5872, Title 28, United States
Code, Section 2461(c) and Title 18, United States Code. Section 924(d).

A TRUE BILL

 

FOREMAN UNITEDSYATES GRAND JURY
SOUTHHRN DISTRICT OF ALABAMA
RICHARD W. MOORE
UNITED STATES ATTORNEY

Orff YYW

GLORIA A! BEDWELL
Assistant United States Attorney

    
 
   

SEANP. COSTELLO ©
Assistant United States Attorney
Chief, Criminal Division JUNE 2020
